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                                UNITED STATES BANKRUPTCY COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                      FORT MYERS DIVISION

Miguel A Zambrana                            Case No. 2:21-bk-00577-FMD
AKA: Miguel Angel Zambrana, Miguel Zambrana, Miguel Angel Zambrana Zambrana, Miguel A
Zambrana Zambrana, Miguel Zambrana Zambrana
Debtor(s)
______________________________/


                        TRUSTEE'S NOTICE TO COURT OF COMPLETION OF
                         PAYMENTS UNDER CONFIRMED CHAPTER 13 PLAN
                        AND DEBTOR’S COMPLIANCE WITH COURT’S ORDER
                         TO FILE THE DOMESTIC SUPPORT CERTIFICATION
                       INCLUDING STATEMENT REGARDING 11 U.S.C § 522 (q)

  Jon M. Waage, Chapter 13 Standing Trustee, hereby submits his notice to the Court that with the latest
distribution, the Debtor(s) have completed payments to the Chapter 13 Trustee under their Chapter 13
Plan; the Court’s docket reflects the Debtor(s) filed a Domestic Support Certification, including a
statement regarding 11 U.S.C. § 522 (q) as required by the Court’s Order Confirming Plan; and therefore,
it would appear that the Debtor(s) may be entitled to their Discharge if all other requirements have been
met.

       Dated August 28, 2024.


                                     /s/ Jon M. Waage
                                     Jon M. Waage
                                     Chapter 13 Standing Trustee
                                     P.O. Box 25001
                                     Bradenton, FL 34206-5001
                                     Phone (941) 747-4644
                                     Fax (941) 750-9266

Copies furnished electronically or by U.S. Mail to:

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